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AO 245B (CASDRev. 02/18) Judgment in a Criminal Case


                                        UNITED STATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF CALIFORNIA
               UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                   V.                                         (For Offenses Committed On or After November 1, 1987)
            WENDY ESPERANZA FONSECA ( 1)
                                                                                 Case Number:          3:21-CR-02242-JAH

                                                                              Paul Allen Barr
                                                                              Defendant' s Attorney
REGISTRATION NO.                   58885-298
• -
THE DEFENDANT:
IZI   pleaded guilty to count(s)             1 of the Information.
D      was found guilty on count(s)
       after a plea of not guilty

Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):

      Title and Section / Nature of Offense                                                                  Count
      18:751(a}, 4082(a} - Escape from Federal Custody (Felony}                                              1




     The defendant is sentenced as provided in pages 2 through                           2            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
D     The defendant has been found not guilty on count(s)

D     Count(s)                                                                      dismissed on the motion of the United States.

1ZJ    Assessment : $100.00 waived


       NT A Assessment* : $
•      -
       *Justice fo r Victims of Trafficking Act of2015, Pub. L. No. 114-22.
•      No fine                   •      Forfeiture pursuant to order filed                                                , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.




                                                                              HON.        HN A. HOUSTON
                                                                              UNITi D STATES DISTRICT ruDGE




                                                                                                                          3 :21-CR-02242-JAH
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AO 245B (CASD Rev. 02/18) Judgment in a Criminal Case

DEFENDANT:                WENDY ESPERANZA FONSECA ( 1)                                             Judgment - Page 2 of 2
CASE NUMBER:              3 :21-CR-02242-JAH

                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 Time served




 •     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 •     The court makes the following recommendations to the Bureau of Prisons:




 •     The defendant is remanded to the custody of the United States Marshal.

 •     The defendant shall surrender to the United States Marshal for this district:
       •     at
                  --------- A.M.                              on
       •     as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 •     Prisons:
       •     on or before
       •     as notified by the United States Marshal.
       •     as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:

       Defendant delivered on                                            to
                                -------------                                 ---------------
 at
      ------------ ,                        with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL



                                                                                                  3 :21-CR-02242-JAH
